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                                                                                       November 29, 2024
                       IN THE UNITED STATES DISTRICT COURT                          -"63"""645*/ $-&3,
                      FOR THE WESTERN DISTRICT OF VIRGINIA                         #:
                                                                                            s/5. 5BZMPS
                                ROANOKE DIVISION                                            %&165:$-&3,

RICHARD ANTHONY POMENTA,                          )
     Plaintiff,                                   )   Civil Action No. 7:24cv00199
                                                  )
v.                                                )   OPINION and ORDER
                                                  )
CLAY CORBIN, et al.,                              )   By: Robert S. Ballou
     Defendants.                                  )   United States District Judge


       In March 2024, Richard Anthony Pomenta, a Virginia inmate proceeding pro se, filed this

civil rights action pursuant to 42 U.S.C. § 1983, alleging racial discrimination and interference

with his right of access to the courts. In October 2024, Pomenta filed a Motion for Preliminary

Injunction (ECF No. 39) and a Motion for Protective order (ECF No. 40), alleging that he was in

fear of his life because of retaliatory actions allegedly committed by the defendants in this

lawsuit. The court received both motions on October 7, 2024.

       On October 10, 2024, the court received a Notice of change of address, indicating that

Pomenta had been transferred to Nottoway Correctional Center and was no longer at the

Northwestern Regional Adult Detention Center (NRADC). The envelope had been stamped as

“legal mail” by the Nottoway Correctional Center and was postmarked October 8, 2024,

indicating that Pomenta was no longer at NRADC.

       All the defendants are employees of NRADC. The court concludes that Pomenta’s

transfer to a new facility, unrelated to the defendants, moots his request for a preliminary

injunction and a protective order. See Williams v. Griffin, 952 F.2d 820, 823 (4th Cir. 1991)

(holding that prisoner’s transfer rendered moot his claims for injunctive relief at the prior

facility). Accordingly, Pomenta’s Motion for Preliminary Injunction (ECF No. 39) and Motion

for Protective Order (ECF No. 40) are DENIED AS MOOT.
Case 7:24-cv-00199-RSB-PMS          Document 50       Filed 11/29/24   Page 2 of 2
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  The Clerk shall send a copy of this opinion and order to Pomenta.

                                       Enter: November 27, 2024
                                       /s/ Robert S. Ballou
                                       Robert S. Ballou
                                       United States District Judge
